Case 3:24-cv-00671-JO-MSB         Document 8       Filed 11/29/24      PageID.134        Page 1 of 6




                               UNITED STATES DISTRICT COURT
                                                                                  FILED
                                                                                 NOV 2 9 2024
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                                                                        sou~~ERK, U.S. DISTRICT COURT
                             SOUTHERN DISTRICT OF CALIFORNIA           BY     Eti.fA.~STRICT OF CALIFORNIA
                                                                                                    DEPUTY



   Robert Emert,

          Plaintiff,

   v.



   San Diego Board of Supervisors et al.,

          Defendants.



                                            NOTICE OF WAIVER OF SERVICE

                                   Civil Action No. 3:24-cv-00671-JO-BJC


   TO THE HONORABLE COURT:



   Plaintiff hereby provides notice that all defendants in this action have waived formal
   service of process pursuant to Federal Rule of Civil Procedure 4(d). Signed Waivers of
   Service of Summons have been received from:



   1. Board of Supervisors of the County of San Diego

   2. County of San Diego

   3. Luis Pena

   4. Franciesca Balerio
Case 3:24-cv-00671-JO-MSB             Document 8        Filed 11/29/24       PageID.135      Page 2 of 6
                                                                                                  2




     As required by Rule 4(d). defendants have acknowledged receipt of the complaint and
     waiver forms, and have agreed to save the expense of serving a summons in this case. The
     defendants retain all defenses and objections to the lawsuit, except for objections to the
     absence of a summons or service.

     \sf  e~ully submitted.


     R~~mert

     Robert Emert

     Pro Se Plaintiff

     11/29/24



     CERTIFICATE OF SERVICE



     I hereby certify that on 11 /29/24, I filed the foregoing with the Clerk of Court and
     defendants' counsel Austin Uhler at austin.uhler@sdcounty.ca.gov.



 ~           Emert

     Robert Emert
   Case 3:24-cv-00671-JO-MSB                           Document 8               Filed 11/29/24               PageID.136              Page 3 of 6


AO 399 (01/09) Waiver of the ~ of Sommons


                                      UNITED STATES D ISTRICT COURT
                                                                    for the
                                                          Southernijl,J&Wf:6'Califomia

                         RobeltEmert                                       )
                              Plaintiff                                    )
                                 V.                                        )      Civil Action No. 3;24-cv-00671-JO-BJC
          San Diego Board o f ~ et al.                                     )
                             Defendant                                     )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Robert Emert
             (Name ofthe plaintiff's allomey or unrepresented pJamtt!J)

       J have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
          I, or the entity J represent, agree to save the expense of serving a summons and complaint in this case.
         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action., but that I waive any objections to the absence of a summons or of service.

        I also understand that J, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from               11/13/2024             ~ the date when this request was sent (or 90 days if it was sent outside the
United States). Ifl fail to do so, a default judgment will be entered against me or the entity I represent.

Date:      11/141.Z024
        ------------                                                                         Signatlln oftire allomq or lllfn!J1lffmled party

                      Franciesca Balerio                                                                 Austin Uhler
        Printed name ofparty waiving senice ofsummons                                                     Print,ed name
                                                                                        Office of County Couneel, County of San Diego
                                                                                               1600 Pacfflc Highway. Room 355
                                                                                                     8an Diego, CA 92101
                                                                                                                  Addrus

                                                                                                   austin.uhler@sdcounty.ca.gov
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                                                                                                            (619) 318-7865
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          Rule4 of the Federal Rules ofCivil Proccdmerequirescc:rtain defendants to cooperate insavingunncccssary expenses of serving a summons
and complaint., A defendant who is located in the United States and who fails to return a signed waiver of service reqiated by a plaintiff locafed in
the United States will be rcquin:d to pay the expenses of scrvia:, unless the defendant shows good cause f« the failure .
          ..Good cause." does not include a belief that the lawsuit is groundless, or that it bas been brought in an improper venue, or that the court bas
no jurisdi~ion over this matter or over the defendant or the defendant's property.
        If the waiver is signed and mumcd, you can Slill make these and all other defenses and objections. but you CauJOl object to the absence of
a summons or of service.

           lfyouwaivesenice, then you must, within the time specified on the waiver form. serve an IIDSWCroramotion under Rule 12 oothe plaintiff
and file a ~ with the coort. By signing and returning the waiver form. you are allowed more tiJne to respond than if a summons had been served.
   Case 3:24-cv-00671-JO-MSB                           Document 8                Filed 11/29/24            PageID.137               Page 4 of 6


AO 399 (01109} Waiver of the Service of Summons


                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                         Southem~.51 California

                         RallllrlE..t                                       )
                              Plaintiff                                     )
                                 v.                                         )    Civil Action No. 3-.24-C\l-00871.J0.8.JC
          San Diego Bo.-cl of SUp8I                Ill al                   )
                            Defendant                                       )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Rabert Enwt
             (Name of the plaintijf's aJtom£y or tulllp,nented plaintiff)

       I have received your request to waive service of a swnrnons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action. but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, most file and serve an answer or a motion under Rule 12 within
60 days from               11/1Y.m:M              , the date when this request was sent (or 90 days if it was sent outside the
United States). lfI fail to do so, a default judgment will be entered against me or the entity I represent.

Date:          111Mf.1D24
                                                                                            Signat,tre oftire mtomey or tllll'epresented party

   8oa'd al Supavtacn d 118 County d San Diego                                                               AullalUhler
        Printed name ofparty waiving service ofsummons                                                        Printed name
                                                                                       OftkadConyCcuwll, Ccxnyd &an Diego
                                                                                            1800 Pacllc ..._...,, Room 366
                                                                                                 San Diego. C.\92101
                                                                                                                 Address

                                                                                                 8Ullln.1Hiio-mny.ca.p
                                                                                                             E-mail address

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                                           Duty to Avoid llaacemry Expealff of Senins. a Sammo•
          Rule 4 of the Federal Rules ofCivil Procedure requires certain defendants to cooperate in saving unnecessary expenses ofserving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States wm be requiml to pay the expenses of service, unless the defendant shows good cause for lhe failure.
          "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter orovertbe defendant or the defendant's property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections. but you canoot object to the absence of
a swnmons or of service.

           If you waive service, then you must, ~itbin the time specified on the waiver fonn. serve an answer or a motion uoder Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
   Case 3:24-cv-00671-JO-MSB                           Document 8              Filed 11/29/24             PageID.138              Page 5 of 6


AO 399 (01/09) Waiver of Ille Scrvitl: of Summons


                                       UNITED STATES DISTRICT COURT
                                                               for the
                                                         Southem~6f California

                                                                         )
                               Plainlijf                                 )
                                  V.                                     )      Civil Action No. 3:24-cv-00671-JO-BJC
           San Diego Board rA Supervisors et al.                          )
                              Defendant                                   )

                                              WAIVER OF THE SERVICE OF SUMMONS

To: Robert Emert
              (Name ofthe plaintiff's attorney or ~ plaintijJ)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit. the court's
jurisdiction, and the venue of the action. but that 1 waive any objections to the absence of a swnmons or of service.
        I also understand that I, or the entity I represent, must file and serve an answer or a motion W1der Rule 12 within
60 days from               1111312824             . the date when this request was sent ( or 90 days if it was sent outside the
United States). lfl fail to do so, a default judgment will be entered against me or the entity I represent.

Date: --......a.
             11/14f.Z024
                ......~ - - --
                                                                                          s ~ o/tlw attomey or tllfrq)rUmtd party
                      County rA San Diego.                                                                 Austin Uhler
        Printed nam-e ofparty waiving t1ervice ofs11111mons                                                 Printed name
                                                                                      Office of Ccu1ly Counlel, ColS1ly of San Diego
                                                                                             1600 Pacfflc Highway, Room 355
                                                                                                   San Diego, CA 92101
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                                                                                                austin.uhler@sdcounty.ca.gov
                                                                                                            E-mail address

                                                                                                         (819) 318'-7865
                                                                                                          Telephone number

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          Rule4 of the Federal Rules ofCivil Proa:dnren:quires certain defendants to cooperate in saving unnecessary expenses ofserving a summons
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          "Good cause'' does not include a belief that the lawsuit is groundless, or lhat it bas been brought in an impmpervmue, or that the court has
no jurisdiction over this mattel' or over the defendant or the defendant's property.
           If the waiver is signed and mumed, you can still make these and all ocher defenses and objections.. but you cannot object to the absence of
a summons or of service.

           Ifyouwarve service, then you must, within the time specified on thew-.uver fonn, serve an answer or a motion under Rule 12 on the plaintiff
and tile a copy with the court. By signing and returning the waiver form. you are allowed more time to respond than if a summons had been served.
   Case 3:24-cv-00671-JO-MSB                          Document 8              Filed 11/29/24              PageID.139              Page 6 of 6


AO 399 (01/00}Waiver oflbeSavia:of Sunnons


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                        Southem~        sf Califomia

                                                                          )
                             Plaintiff                                    )
                                v.                                        )     Civil Action No. 3:24-cv-00671..JO-BJC
          San Diego Board cl Supervieors etal.                            )
                            /Jefe,m,,t                                    )

                                           WAIVER OF THE SERVICE OF SUMMONS

To: Robert Enat
             (Name ofthe plaintiff's attorney or rmnpruented plainliJI)

       I have received your request to waive service of a summons in this action along with a copy of the complaint.
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          I, or the entity I represent, agree to save the expense of serving a summons and c.omplaint in this case.

         I understand that I,. or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action. but that I waive any objections to the absence of a summons or of service.
        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from               11/13/2024             . the date when this request was sent (or 90 days if it was sent outside the
United States). Iff fail to do so, a default judgment will be entered against me or the entity I represent.

Date:      11/14/2024
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                           Luis Pefta                                                                  Austin Uhler
        Printed name ofparty waiving service ofswmr,ons                                                 Printed 1111111e
                                                                                      Office of County Counsel, Coooty d San Diego
                                                                                             1600 Pacific l-f91WaY, Room 355
                                                                                                     San Diego, CA 92101
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          Rule4oftheFederalRulesofCivilProcedurcrcquiRscertaindefendantstocoopcrateinsavingunnca:ssaryexpcusesofsc:rvingasurmnons
and complaint. A defendant wbo is locakd in the United States and who fails IO return a signed waiver of service reqaestcd by a plaintiff located in
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          "Good cause" does not include a belief that the lawsuit is grouodless, or that it has been brought in an impropervame, or that the court has
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           If youw.aive service, then you must. wi1hin the time specified on the waiverf~ serve an answer or a motion under Rule l2on the plaintiff
and file a ropy with the court. By signing and returning the waiver fonn. yoa are allowed more time to tapood than if a swnmons had been served.
